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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


                                            x
                                            :
WALLEYE TRADING LLC, Individually and :         Case No.
on Behalf of All Others Similarly Situated, :
                                            :   CLASS ACTION
                             Plaintiff,     :
                                            :
      vs.                                   :   COMPLAINT FOR VIOLATIONS OF
                                            :   THE FEDERAL SECURITIES LAWS
MINDBODY, INC., RICHARD L.                  :
STOLLMEYER, and BRETT WHITE                 :
                                            :   DEMAND FOR JURY TRIAL
                             Defendants.
                                            :
                                            :
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                                        INTRODUCTION

       Plaintiff Walleye Trading LLC (“Plaintiff”), individually and on behalf of all others

similarly situated, alleges the following based on personal knowledge as to Plaintiff and

Plaintiff’s own acts, and upon information and belief as to all other matters based upon the

investigation conducted by and through Plaintiff’s attorneys, which included, among other

things, a review of Securities and Exchange Commission (“SEC”) filings by MINDBODY, Inc.

(“MINDBODY” or the “Company”), as well as conference call transcripts and media and

analyst reports about the Company. Plaintiff believes that substantial evidentiary support will

exist for the allegations set forth herein after a reasonable opportunity for discovery.

                                SUMMARY OF THE ACTION

       1.       This is a securities class action brought on behalf of all former owners of

MINDBODY Class A common stock who sold shares, and were damaged thereby, during the

period from November 7, 2018 through February 15, 2019, both dates inclusive (the “Class

Period”). Excluded from the Class are: Defendants (as defined herein); the officers and

directors of the Company during the Class Period (the “Excluded D&Os”); members of

Defendants’ and the Excluded D&Os’ immediate families; the subsidiaries and affiliates of the

Company, including the Company’s employee retirement and benefit plan(s) and their

participants or beneficiaries, to the extent they made purchases through such plan(s); any entity

in which Defendants or the Excluded D&Os have or had a controlling interest; and the legal

representatives, heirs, successors or assigns of any excluded person or entity; and anyone who

filed a petition or pursued appraisal rights of their MINDBODY Class A common stock

pursuant to Delaware law.

       2.       This case concerns a scheme by MINDBODY, certain of its officers and/or

directors, and Vista Equity Partners Management, LLC (“Vista”), to depress the value of
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MINDBODY shares to allow Vista to avoid paying a fair price to MINDBODY shareholders in

connection with the merger and subsequent delisting of the Company, in violation of Sections

10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), and Rule l0b-5

promulgated thereunder. Defendants executed this scheme by misstating and/or omitting

material information concerning MINDBODY’s financial results. As a result, MINDBODY

shareholders were misled into accepting consideration that was well below the fair value for

their MINDBODY shares.

       3.       MINDBODY, a Delaware Corporation headquartered in San Luis Obispo,

California, provides cloud-based business management software for the wellness services

industry, and a rapidly growing marketplace for wellness services.

       4.       In early 2018, the Company underwent several successful acquisitions.

Following these acquisitions, which Defendants defined as “pivotal,” investors were repeatedly

assured that MINDBODY was on track to successfully integrate the companies, and that the

acquisitions offered a substantial value proposition for the Company. For example, on

September 18, 2018, Defendant Stollmeyer stated that the respective integrations were “going

well,” and that MINDBODY was “positioned to grow [its] marketplace more quickly and to

accelerate in all of [its] key markets.”

       5.       Unknown to investors at this time, however, was that in the latter half of 2018,

Defendant Richard L. Stollmeyer (“Stollmeyer”), the Company’s Chief Executive Officer

(“CEO”), had been in discussions with Vista concerning a potential sale of the Company. The

MINDBODY Board of Directors only became aware of these discussions between Stollmeyer

and Vista in late October 2018, when it convened to discuss Vista’s interest in the Company.




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       6.       On November 6, 2018, Defendants intentionally issued disappointing guidance

for the Company’s upcoming fourth quarter 2018 in order to artificially depress the price of the

Company’s stock, attributing it to integration issues with MINDBODY’s early 2018

acquisitions. The market, having previously been informed that the integrations in question

were on track, reacted poorly, causing the price of MINDBODY Class A common stock to fall

by approximately 20 percent on November 7, 2018.

       7.       Shortly thereafter, by press release dated December 24, 2018, Defendants

informed investors that the Company’s Board had approved a merger agreement with Vista.

Pursuant to the agreement, holders of the Company’s common stock would receive $36.50 in

exchange for their shares, with Vista taking MINDBODY private upon completion. Defendants

touted this as a 68 percent premium to the Company’s December 21, 2018 closing price, which

price was still depressed by the surprising and suspiciously timed negative guidance issued on

November 6, 2018.

       8.       Unknown to MINDBODY investors, however, is that by January 18, 2019,

Defendants knew that the Company’s fourth quarter 2018 results had materially exceeded not

only current analyst estimates, but also those estimates issued prior to the disappointing

November 6, 2018 guidance.

       9.       During January and February, Defendants issued proxy materials urging

MINDBODY shareholders to vote “FOR” the transaction, touting the price of $36.50 as a

substantial premium for MINDBODY shareholders. These proxy materials, however, failed to

disclose the “meaningful” fourth quarter 2018 results necessary for investors to make an

informed decision whether to vote in favor of the proposed transaction.




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       10.     Based, in part, on Defendants’ failure to disclose MINDBODY’s favorable

fourth quarter 2018 financial results, which would have raised questions regarding whether the

merger consideration was fair, MINDBODY shareholders approved the transaction on February

14, 2019. The following day, Defendants reported the closing of the transaction, and

MINDBODY shareholders received $36.50 in exchange for their shares.

       11.     As a result of these material misrepresentations and omissions, MINDBODY

shareholders were misled into selling their shares for less than the fair value of those shares,

which fair price was greater than $36.50.

                                JURISDICTION AND VENUE

       12.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC, 17

C.F.R. § 240.10b-5. This Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§ 1331 and 1337, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

       13.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and

28 U.S.C. §1391(b). A significant portion of the Defendants’ actions, and the subsequent

damages, took place within this District. In addition, at all relevant times MINDBODY’s stock

traded in New York on the NASDAQ. In connection with the acts alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including, but not limited to, the mails, interstate telephone communications, and the facilities

of the national securities markets.

                                            PARTIES

       14.     Plaintiff, as set forth in the accompanying Certification, which is incorporated by

reference herein, sold MINDBODY Class A common stock during the Class Period and was

damaged as the result of Defendants’ wrongdoing as alleged in this complaint.

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       15.     Defendant MINDBODY is incorporated in Delaware and headquartered in San

Luis Obispo, California. For all relevant times during the Class Period the Company’s Class A

common stock was listed on the NASDAQ under the ticker symbol “MB”. The Company’s

Class B common stock is not publically traded, and predominately held by insiders.

       16.     Defendant Stollmeyer was at all relevant times the Chairman, CEO, and Founder

of MINDBODY.

       17.     Defendant Brett White (“White”) was at all relevant times the Chief Financial

Officer (“CFO”) and Chief Operating Officer (“COO”) of MINDBODY.

       18.     Defendants Stollmeyer and White are collectively referred to hereinafter as the

“Individual Defendants.” The Individual Defendants, because of their positions with the

Company, possessed the power and authority to control the contents of MINDBODY’s reports

to the SEC, press releases, and presentations to securities analysts, money portfolio managers

and institutional investors, i.e., the market. The Individual Defendants were provided with

copies of the Company’s reports and press releases alleged herein to be misleading prior to, or

shortly after, their issuance and had the ability and opportunity to prevent their issuance or

cause them to be corrected. Because of their positions and access to material non-public

information available to them, the Individual Defendants knew that the adverse facts specified

herein had not been disclosed to, and were being concealed from, the public, and that the

positive representations which were being made were then materially false and/or misleading.

The Individual Defendants are liable for the false statements pleaded herein, as those statements

were each “group-published” information, the result of the collective actions of the Individual

Defendants.




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       19.     MINDBODY, and the Individual Defendants are referred to herein, collectively,

as “Defendants.”

                              SUBSTANTIVE ALLEGATIONS

                                         Background

       20.     Founded in 2001, MINDBODY is a provider of cloud-based business

management software for the wellness services industry, e.g., salons and spas, and a rapidly

growing marketplace for wellness services. The Company offers integrated software and

payment platforms to assist wellness business owners run, market, and build their businesses,

while engaging consumers by aggregating available classes and appointments, and enabling

rapid discovery, booking and payment. The Company conducted its initial public offering in

June 2015.

       21.     In early 2018, the Company underwent several successful acquisitions. On

February 19, 2018, MINDBODY acquired FitMetrix, Inc. (“FitMetrix”), a creator of

performance tracking solutions designed to help wellness businesses increase retention, and

provide wellness seekers with an engaging, more interactive fitness experience, for $15.5

million. Additionally, on March 13, 2018, the Company acquired Booker Software (“Booker”),

a leading cloud-based business management platform for salons and spas, and the provider of

Frederick, a fast-growing, automated marketing software for wellness businesses, for $150

million.

       22.     Following the acquisitions, Defendant Stollmeyer touted how the acquisitions of

FitMetrix and Booker offered a substantial value proposition for MINDBODY. For example,

on May 13, 2018, during the Company’s first quarter 2018 earnings call with analysts and

investors, Stollmeyer stated that the “pivotal acquisitions” of FitMetrix and Booker were poised

to “add substantial capabilities to [MINDBODY’s] platform.” On the same call, Stollmeyer

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also congratulated the MINDBODY team for the efforts they were “putting forth to successfully

integrate and accelerate Booker and FitMetrix under the MINDBODY platform.”

        23.     On September 18, 2018, at the MINDBODY Analyst Day Teleconference,

Defendants made several positive statements regarding the FitMetrix and Booker acquisitions.

Specifically, Defendant Stollmeyer again touted the value proposition of the FitMetrix and

Booker acquisitions, and also indicated that the integration efforts to date had been successful,

stating in pertinent part:

                Right now, our acquisitions position us favorably for this, in fact,
                better than anyone else in the world. By acquiring Booker,
                Frederick, and FitMetrix in the last - well, in the first half of the
                year, we now are positioned to grow our marketplace more
                quickly and to accelerate in all of our key markets. We’re going
                to dive into our product innovations.

During the teleconference, Defendant Stollmeyer also assured analysts that the Booker

integration was “going well.”

        24.     Unbeknownst to investors at this time, however, was that throughout the second

half of 2018, Stollmeyer had begun discussions with Vista regarding the potential sale of the

Company to Vista—seemingly without authorization from the Company’s Board of Directors.

During this time, Stollmeyer was in continued contact with Vista, even attending an early

October “meet and greet” conference hosted by Vista.

        25.     On October 16, 2018, Vista indicated to Stollmeyer that it was interested in

pursuing strategic transaction discussions with MINDBODY. The Board of Directors for

MINDBODY apparently only became involved in the proposed transaction with Vista on

October 26, 2018. On that date, the Company’s Board of Directors convened to discuss Vista’s

interest in the Company.




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            Defendants’ Materially False and Misleading Statements and Omissions

          26.     On November 6, 2018, after the close of trading, MINDBODY shocked the

market by reporting disappointing earnings guidance for the Company’s upcoming fourth

quarter 2018. Specifically, the Company reported downward guidance of $65 to $67 million in

revenue, which was lower than the $68.1 million expected by analysts. The disappointing

guidance, according to the Company, “reflect[ed] the acquisition of FitMetrix and Booker.”

Stollmeyer was quoted in the accompanying press release stating that the “recent acquisitions

have introduced greater operational challenges than expected in the back half of the year.” On

this news, MINDBODY stock fell $6.45 from its November 6, 2018 closing price, to close at

$26.18 on November 7, 2018, a decline of approximately 20 percent.

          27.     MINDBODY’s disappointing fourth quarter 2018 guidance, however, was in

stark contrast to the positive statements made by Defendants during the September 18, 2018

Analyst Day Teleconference—less than two months prior to the November 6, 2018

announcement and nearly three weeks into MINDBODY’s fourth quarter 2018.

          28.     Unsurprisingly, analysts were quick to voice their confusion at the abrupt change

in the Company’s outlook. For example, an analyst at Jeffries noted that the “Market

disappointment is understandable after: 1) unclear signals after Booker acquis. was first

announced; 2) $1M lower FY18 rev guide after Q2; and 3) low Q4 rev guide after Q3.” The

Jeffries analyst, however believed that the market’s reaction seemed “excessive,” and that

MINDBODY’s “valuation appears excessive (low)” when compared to similar companies. In

addition, analysts at JP Morgan stated that the integration issues were “much bigger than [they

had] anticipated at the time of the deal.”1



1
    Emphasis added throughout, unless otherwise noted.

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       29.     On December 17, 2018, MINDBODY issued a press release announcing that

Kimbery Lytikainen, the Company’s Chief Legal Officer, had announced her resignation. Her

resignation was to be effective January 18, 2019.

       30.     On December 18, 2018, Vista made an offer to the Company’s Board to acquire

all of MINDBODY’s common stock for $35 per share. This offer, based off the current share

price of the Company’s Class A common stock, came during the period where the price of the

Company’s shares were still depressed from the disappointing fourth quarter 2019 guidance.

       31.     Following an extremely brief negotiation period, the merger was approved by the

Company’s Board on December 23, 2018 for $36.50 per share, representing a total value of $1.9

billion (the “Merger”). In order to effectuate the Merger, MINDBODY would merge with

Torreys Merger Sub, Inc. (“Merger Sub”), and continue on as a surviving corporation and

wholly owned direct subsidiary of Torreys Parent LLC (“Merger Parent”). Both Merger Parent

and Merger Sub were created by Vista for the sole purpose of completing the merger. Upon

completion of the Merger, MINDBODY’s Class A common stock would cease to be publically

traded and be deregistered under the Exchange Act. Finally the merger was contingent on a

vote of MINDBODY shareholders who held as of the upcoming record date on January 18,

2019 (the “Record Date”).

       32.     In addition, the Acquisition contained a 30 day “go-shop” provision, whereby the

Company was supposedly charged with soliciting a superior offer. For several reasons,

however, this “go-shop” period appears to have been illusory. As a preliminary matter, 30 days

is on the low end for the customary length of a “go-shop” period. Secondly, the go-shop period

commenced the day before Christmas Eve and ran through the holiday season, and was

therefore during a time of year when many potential purchasers lacked the adequate resources to



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enter into, let alone investigate, a transaction valued at nearly two billion dollars. Finally, the

provision provided for a lower termination fee only if MINDBODY entered into a superior

transaction during the period, as opposed to the regular practice of providing for a lower fee if a

superior offer is made during the period.

         33.      On December 24, 2018, MINDBODY issued a press release announcing that the

Company’s Board of Directors had unanimously approved the Acquisition. The press release

touted the Acquisition as “representing a 68% premium to the unaffected closing price as of

December 21, 2018.” In addition, Stollmeyer was quoted in the press release lauding the

benefit of the deal to current MINDBODY shareholders, stating in pertinent part: “We are

thrilled to provide immediate liquidity to our shareholders at a significant premium to market

prices . . . .”

         34.      The Merger’s offering price of $36.50 per share, however, was only

approximately a 5 to 10 percent premium to the Company’s share price during the time in which

Stollmeyer and Vista began their preliminary discussions—which discussions still unknown to

MINDBODY shareholders at this time. In addition, the Merger consideration represented an

approximately 20 percent discount to the Company’s 52-week high of $44.60 per share on May

7, 2018.

         35.      On December 26, 2018, Defendants filed proxy materials with the SEC. In the

proxy materials, Defendant Stollmeyer was again quoted touting the deal as a “68% premium

compared to the closing price of [MINDBODY] stock as of December 21, 2018.”

         36.      On January 2, 2019, Defendants filed additional proxy materials with the SEC, in

the proxy, Defendant Stollmeyer was quoting falsely stating that the Company had only begun




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to contemplate taking MINDBODY private in October, and only afterwards begun discussions

with Vista, stating in pertinent part:

                In October, our Board of Directors and I agreed to explore of
                the possibility of taking MINDBODY private, because we
                realized that the right acquirer could enable us to be even more
                successful in the years ahead. Since then, through conversations
                with multiple interested acquirers and CEOs, I became
                convinced that going private now is our best path forward, and
                that Vista is an ideal partner.

        37.     On January 9, 2019, Defendants filed a preliminary proxy with the SEC. The

preliminary proxy touted the Merger as “in the best interest of the Company and its

stockholders,” representing: “(1) 68% to the closing price of MINDBODY’s Class A common

stock on December 21, 2018, the last full trading day prior to public announcement of

MINDBODY’s entry into the Merger Agreement; and (2) 42% to the 30-day volume weighted

average price, ending on December 21, 2018.”

        38.     This 42 percent premium touted in the preliminary proxy, however, still failed to

include the price of MINDBODY shares prior to the suspiciously timed November 6, 2018

guidance which materially depressed the price of Company shares, as well as the price of

MINDBODY shares during the time Defendant Stollmeyer had begun discussions with Vista in

the latter half of 2018.

                           Defendants Withhold Positive Financial Results

        39.     Based on the discovery in an action pending in the Delaware Court of Chancery

captioned Ryan v. MINDBODY, Inc., C.A. No. 2019-0061-AGB (the “Delaware Action”),

which has included deposition testimony and document retrieval from the Individual

Defendants, by January 18, 2019 Defendants were aware, yet failed to disclose, that

MINDBODY’s fourth quarter 2018 results were largely better than projected. Specifically,

MINDBODY’s fourth quarter 2018 revenues were $68.3 million. These results not only
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surpassed current consensus estimates of $66 million, but were also greater than the previous

consensus estimates of $68.1 million issued prior to the November 6, 2018 disclosure.

       40.     As further revealed in the Delaware Action, in a January 24, 2019, letter to the

Company’s Audit Committee, Defendant White stated that because the fourth quarter results

“meaningfully” exceeded estimates, that “the right thin[g] to do is to publically release this

information via 8K no later than Feb 7th so the shareholders have the information before

they vote.”

       41.     According to discovery in the Delaware Action, however, the decision of

whether to release the fourth quarter results was also relayed to Vista by Cooley LLP,

MINDBODY’s outside legal counsel, to see if it “ha[d] different views on the approach.”

Vista apparently did have “different views,” as the “meaningful” positive fourth quarter 2018

results were not only never given to shareholders, but also never provided to the independent

proxy advisory firms contracted to issue an opinion on whether the Merger was fair.

       42.     Following the Board’s approval of the Merger. MINDBODY issued a definitive

proxy statement on January 23, 2019, where the Company’s Board unanimously recommended

Company shareholders to vote “FOR” the Acquisition, again touting the consideration price as

“a premium of approximately: (1) 68% to the closing price of MINDBODY’s Class A

common stock on December 21, 2018, the last full trading day prior to public announcement

of MINDBODY’s entry into the Merger Agreement; and (2) 42% to the 30-day volume

weighted average price, ending on December 21, 2018.” The proxy not only failed to disclose

the vast majority of discussions between Stollmeyer and Vista during the period August through

October 2018, but also failed to include any information concerning the Company’s positive

fourth quarter 2018 results.



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       43.     One week prior to the shareholder vote, Defendants issued a supplemental proxy

on February 7, 2019. This supplemental proxy for the first time disclosed in full the

interactions between Stollmeyer and Vista during August through October 2018:

               In the first half of August 2018, as part of Qatalyst Partners’
               customary coverage of software companies, a representative of
               Qatalyst Partners had a meeting with Mr. Stollmeyer. Following this
               meeting, Qatalyst Partners reached out to Vista, Party A, and Party B
               as typical outreach to connect strategic companies, including
               MINDBODY, to such parties.

               Separately, on August 7, 2018, a representative of Vista emailed Mr.
               Stollmeyer, offering to meet for lunch, which took place on
               September 4, 2018, and at which Mr. Stollmeyer provided the
               representative of Vista with a general overview of MINDBODY and
               its approach to the fitness, beauty and wellness services industries as
               was typical for Mr. Stollmeyer to present to potential investors.

               On September 19, 2018, Mr. Stollmeyer received an invitation from
               the representative of Vista to attend an annual “meet and greet”
               conference hosted by Vista bringing together hundreds of executives
               in the technology sector, including from Vista’s portfolio companies.

                                              ***

               In October 2018, at that “meet and greet” annual conference hosted
               by Vista, at which Mr. Stollmeyer was present as an attendee on
               October 8th and 9th, representatives of Vista and Mr. Stollmeyer
               discussed Vista’s investment strategy and the firm’s interest in
               learning more about MINDBODY’s approach to the fitness, beauty
               and wellness services industries. On October 16, 2018, Vista
               indicated to Mr. Stollmeyer that it was interested in pursuing
               strategic transaction discussions with MINDBODY. During this time
               period, Mr. Stollmeyer also had meetings with representatives of two
               other financial sponsors, Party A and Party B, which meetings (the
               latter occurring on October 15, 2018 and the former on November 1,
               2018) were facilitated by Qatalyst Partners after the early August
               2018 introductions described above as customary outreach to re-
               connect strategic companies like MINDBODY to such parties.

The supplemental proxy also disclosed that certain MINDBODY senior executives had been

engaging in discussions to secure post-Acquisition employment and equity participation once

the Company was taken private:

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              Later that evening, MINDBODY and Vista executed the Merger
              Agreement and related agreements in connection with the
              transactions contemplated by the Merger Agreement. At the time
              of the signing of the Merger Agreement, Vista and MINDBODY
              had not engaged in any employment or retention-related
              discussions with regard to MINDBODY management discussed
              the terms of post-closing employment or equity participation for
              MINDBODY management. Prior to (but after the signing of the
              Merger Agreement) and following the closing of the Merger,
              however, certain of our executive officers may already have had,
              or may have discussions, and following the closing of the Merger,
              may enter into agreements with, Parent or Merger Sub, their
              subsidiaries or their respective affiliates regarding employment
              with, or the right to purchase or participate in the equity of, the
              Surviving Corporation or one or more of its affiliates.

Finally, the supplemental proxy still failed to inform MINDBODY shareholders that the

Company’s fourth quarter results had “meaningfully” exceeded estimates.

                   MINDBODY Shareholders Approve the Merger
        Without Learning of the Company’s Positive Fourth Quarter 2018 Results

       44.    Based, in part, on Defendants’ failure to disclose MINDBODY’s favorable

fourth quarter 2018 financial results, which would have raised questions regarding whether the

Merger consideration was fair, MINDBODY shareholders as of the Record Date approved the

take private transaction on February 14, 2019. The Company reported that the Merger had

closed on February 15, 2019, and all MINDBODY shareholders received $36.50 in exchange

for their shares. Finally, on February 26, 2019, MINDBODY Class A common stock was

deregistered pursuant to the Exchange Act and ceased to be publically traded.

       45.    Therefore, during the Class Period Defendants misstated and/or omitted material

information concerning MINDBODY’s financial results. Specifically, that: (1) Defendants had

put scheme in place to depress the value of MINDBODY stock directly preceding the Merger

offer manufactured through the negative guidance issued on November 6, 2018; (2), the “go-

shop” provision in the Merger offer was designed to prevent any superior offers by other


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potential purchasers; (3) at the behest of Vista, Defendants never released the Company’s

favorable fourth quarter 2018 results; and (4) as a result of the following, the Merger

consideration was not fair, and any fairness opinions rendered by the independent proxy

advisory firms were based off of incomplete information. Thus, MINDBODY shareholders

were not paid the fair value of their shares in connection with the Merger, and suffered harm as

a result of this alleged conduct in violation of the federal securities laws.

                              UNDISCLOSED ADVERSE FACTS

       46.     At all relevant times, the market for MINDBODY Class A common stock was

open, well-developed and efficient. As a result of these materially false and/or misleading

statements, and/or failures to disclose, MINDBODY’s Class A common stock traded at

artificially deflated prices during the Class Period. Plaintiff and other members of the Class

sold the Company’s Class A common stock stock relying upon the integrity of the market price

of the Company’s Class A common stock and market information relating to MINDBODY, and

have been damaged thereby.

       47.     During the Class Period, Defendants materially misled the investing public,

thereby purposely deflating the price of MINDBODY’s Class A common stock, by publicly

issuing false and/or misleading statements and/or omitting to disclose material facts necessary

to make Defendants’ statements, as set forth herein, not false and/or misleading. These

statements and omissions were materially false and/or misleading in that they failed to disclose

material adverse information and/or misrepresented the truth about MINDBODY’s business,

operations, and prospects as alleged herein.

       48.     At all relevant times, the material misrepresentations and omissions

particularized in this Complaint directly or proximately caused, or were a substantial

contributing cause, of the damages sustained by Plaintiff and other members of the Class. As
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described herein, during the Class Period, Defendants made, or caused to be made a series of

materially false and/or misleading statements about MINDBODY’s financial well-being and

prospects. These material misstatements and/or omissions had the cause and effect of creating

in the market an unrealistically negative assessment of the Company and its financial well-being

and prospects, thus causing the Company’s Class A common stock to be undervalued and

artificially deflated at all relevant times. Defendants’ materially false and/or misleading

statements during the Class Period resulted in Plaintiff and other members of the Class selling

the Company’s Class A common stock at artificially deflated prices, thus causing the damages

complained of herein.

                        ADDITIONAL SCIENTER ALLEGATIONS

       49.     During the Class Period, as alleged herein, the Individual Defendants acted with

scienter in that the Individual Defendants knew or were reckless as to whether the public

documents and statements issued or disseminated in the name of the Company during the Class

Period were materially false and misleading; knew or were reckless as to whether such

statements or documents would be issued or disseminated to the investing public; and

knowingly and substantially participated or acquiesced in the issuance or dissemination of such

statements or documents as primary violations of the federal securities laws.

       50.     The Individual Defendants permitted MINDBODY to release these false and

misleading statements and failed to file the necessary corrective disclosures, which artificially

deflated the value of the Company’s Class A common stock.

       51.     As set forth herein, the Individual Defendants, by virtue of their receipt of

information reflecting the true facts regarding MINDBODY, their control over, receipt, and/or

modification of MINDBODY’s allegedly materially misleading statements and omissions,



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and/or their positions with the Company that made them privy to confidential information

concerning MINDBODY, participated in the fraudulent scheme alleged herein.

        52.     The Individual Defendants are liable as participants in a fraudulent scheme and

course of conduct that operated as a fraud or deceit on those who sold MINDBODY Class A

common stock by disseminating materially false and misleading statements and/or concealing

material adverse facts. The scheme deceived the investing public regarding MINDBODY’s

business, operations, and management and the intrinsic value of MINDBODY Class A common

stock and caused Plaintiff and members of the Class to sell MINDBODY Class A common

stock at artificially deflated prices.

                            LOSS CAUSATION/ECONOMIC LOSS

        53.     During the Class Period, as detailed herein, Defendants engaged in a scheme to

deceive the market and a course of conduct that artificially deflated the price of MINDBODY’s

Class A common stock and operated a fraud or deceit on Class members by failing to disclose

and misrepresenting the facts detailed herein. This course of conduct misled the Class members

and caused them, in reliance on the misrepresentations and on the market price of

MINDBODY’s Class A common stock during the Class Period, to sell their shares at a

depressed price. As a result of their sale of MINDBODY Class A common stock during the

Class Period, Plaintiff and other members of the Class suffered economic loss, i.e., damages,

under the federal securities laws.

 APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD ON THE MARKET

        54.     To the extent that Defendants concealed or improperly failed to disclose material

facts with regard to the Company, Plaintiff is entitled to a presumption of reliance in accordance

with Affiliated Ute Citizens v. United States, 406 U.S. 128, 153 (1972).



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       55.     Plaintiff is further entitled to rely upon the presumption of reliance established

by the fraud-on-the-market doctrine in that, among other things:

               (a)     Defendants made public misrepresentations or failed to disclose material

facts during the Class Period;

               (b)     the omissions and misrepresentations were material;

               (c)     the Company’s Class A common stock traded in an efficient market;

               (d)     the misrepresentations alleged would tend to induce a reasonable investor

to misjudge the value of the Company’s Class A common stock; and

               (e)     Plaintiff and other members of the Class transacted in MINDBODY

Class A common stock between the time Defendants misrepresented or failed to disclose

material facts and the time the true facts were disclosed, without knowledge of the

misrepresented or omitted facts.

       56.     At all relevant times, the markets for MINDBODY Class A common stock were

efficient for the following reasons, among others:

               (a)     as a regulated issuer, MINDBODY filed periodic public reports with the

SEC;

               (b)     MINDBODY regularly communicated with public investors via

established market communication mechanisms, including through regular disseminations of

press releases on the major news wire services and through other wide-ranging public

disclosures, such as communications with the financial press, securities analysts, and other

similar reporting services;

               (c)     MINDBODY was followed by several securities analysts employed by

major brokerage firm(s) who wrote reports that were distributed to the sales force and certain



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customers of their respective brokerage firm(s) and that were publicly available and entered the

public marketplace; and

               (d)     MINDBODY Class A common stock was actively traded in an efficient

market, namely the NASDAQ, under the ticker symbol “MB.”

       57.     As a result of the foregoing, the market for MINDBODY Class A common stock

promptly digested current information regarding MINDBODY from all publicly available

sources and reflected such information in MINDBODY’s stock price. Under these

circumstances, all those who purchased or otherwise acquired MINDBODY Class A common

stock during the Class Period suffered similar injury through sales of MINDBODY’s Class A

common stock at artificially deflated prices and the presumption of reliance applies.

                                      NO SAFE HARBOR

       58.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements”

when made and there were no meaningful cautionary statements identifying important factors

that could cause actual results to differ materially from those in the purportedly forward-looking

statements. In the alternative, to the extent that the statutory safe harbor is determined to apply

to any forward-looking statements pleaded herein, Defendants are liable for those false forward-

looking statements because at the time each of those forward-looking statements were made, the

speaker had actual knowledge that the forward-looking statement was materially false or

misleading, and/or the forward-looking statement was authorized or approved by an executive

officer of MINDBODY who knew that the statement was false when made.
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                               CLASS ACTION ALLEGATIONS

        59.     Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of all former owners of MINDBODY Class A common

stock who sold shares, and were damaged thereby, during the period from November 7, 2018

through February 15, 2019, both dates inclusive (the “Class”). Excluded from the Class are:

Defendants; the Excluded D&Os; members of Defendants’ and the Excluded D&Os’ immediate

families; the subsidiaries and affiliates of the Company, including the Company’s employee

retirement and benefit plan(s) and their participants or beneficiaries, to the extent they made

purchases through such plan(s); any entity in which Defendants or the Excluded D&Os have or

had a controlling interest; and the legal representatives, heirs, successors or assigns of any

excluded person or entity; and anyone who filed a petition or pursued appraisal rights of their

MINDBODY Class A common stock pursuant to Delaware law.

        60.     There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class which

predominate over questions which may affect individual Class members include:

                (a)     Whether the Exchange Act was violated by Defendants;

                (b)     Whether Defendants omitted and/or misrepresented material facts;

                (c)     Whether Defendants’ statements omitted material facts necessary in order

to make the statements made, in light of the circumstances under which they were made, not

misleading;

                (d)     Whether Defendants knew or recklessly disregarded that their statements

were false and misleading;

                (e)     Whether the price of MINDBODY Class A common stock was

artificially deflated; and
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               (f)     The extent of the damage sustained by Class members and the

appropriate measure of damages.

        61.    Plaintiff’s claims are typical of those of the Class because Plaintiff and the Class

sustained damages from Defendants’ wrongful conduct.

        62.    Plaintiff will adequately protect the interests of the Class and has retained

counsel experienced in securities class action litigation. Plaintiff has no interests that conflict

with those of the Class.

        63.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

                                             COUNT I

                      For Violation of Section 10(b) of the Exchange Act
                           and Rule 10b-5 Against All Defendants

        64.    Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

        65.    During the Class Period, Defendants disseminated or approved the false

statements specified above, which they knew or recklessly disregarded were misleading in that

they contained misrepresentations and failed to disclose material facts necessary in order to

make the statements made, in light of the circumstances under which they were made, not

misleading.

        66.    Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in that

they:

               (a)     Employed devices, schemes, and artifices to defraud;




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               (b)     Made untrue statements of material facts or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading; or

               (c)     Engaged in acts, practices, and a course of business that operated as a

fraud or deceit upon Plaintiff and others similarly situated in connection with their transactions

in MINDBODY Class A common stock during the Class Period.

       67.     Plaintiff and the Class have suffered damages in that, as a result of Defendants’

wrongful conduct alleged herein, they sold MINDBODY Class A common stock at artificially

deflated prices. Plaintiff and the Class would not have sold MINDBODY Class A common

stock at the prices they did, or at all, if they had been aware that the market prices had been

artificially and falsely deflated by Defendants’ misleading statements.

       68.     As a direct and proximate result of these Defendants’ wrongful conduct, Plaintiff

and the other members of the Class suffered damages in connection with their sales of

MINDBODY Class A common stock during the Class Period.

                                            COUNT II

                      For Violation of Section 20(a) of the Exchange Act
                             Against the Individual Defendants

       69.     Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       70.     The Individual Defendants acted as controlling persons of MINDBODY within

the meaning of Section 20(a) of the Exchange Act. By virtue of their positions and their power

to control public statements about MINDBODY, the Individual Defendants, as culpability

participants, had the power and ability to control the actions of MINDBODY and its employees.

By reason of such conduct, Defendants are liable pursuant to Section 20(a) of the Exchange Act.


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                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

         A.     Determining that this action is a proper class action, designating Plaintiff as Lead

Plaintiff and certifying Plaintiff as a Class representative under Rule 23 of the Federal Rules of

Civil Procedure and Plaintiff’s counsel as Lead Counsel;

         B.     Awarding compensatory damages in favor of Plaintiff and the other Class

members against all Defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

         C.     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

         D.     Awarding such equitable/injunctive or other relief as deemed appropriate by the

Court.

                                          JURY DEMAND

         Plaintiff demands a trial by jury.

DATED: September 6, 2019                              Respectfully submitted,

                                                      LABATON SUCHAROW LLP

                                                      /s/ Francis P. McConville
                                                      Christopher J. Keller
                                                      Eric J. Belfi
                                                      David J. Schwartz
                                                      Francis P. McConville
                                                      140 Broadway
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                                                      fmcconville@labaton.com

                                                      Counsel for Plaintiff

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                                           CERTIFICATION

         I, Andrew Carney, as Chief Executive Officer of Walleye Trading Advisors LLC, hereby

certify as follows:

         1.     As Chief Executive Officer of Walleye Trading Advisors LLC, I am fully authorized

to enter into and execute this Certification on behalf of Walleye Trading LLC (“Walleye”). I have

reviewed a complaint prepared against MINDBODY, Inc. (“MINDBODY”) alleging violations of

the federal securities laws, and authorize the filing of this action and any subsequent motion for lead

plaintiff appointment;

         2.     Walleye did not transact in the common stock of MINDBODY at the direction of

counsel or in order to participate in any private action under the federal securities laws;

         3.     Walleye is willing to serve as a lead plaintiff and representative party in this matter,

including providing testimony at deposition and trial, if necessary. Walleye fully understands the

duties and responsibilities of the lead plaintiff under the Private Securities Litigation Reform Act,

including the selection and retention of counsel and overseeing the prosecution of the action for the

Class;

         4.     Walleye’s transactions in MINDBODY common stock during the Class Period are

reflected in Exhibit A, attached hereto;

         5.     Walleye has sought to serve as a lead plaintiff and representative party in the

following class actions under the federal securities laws filed during the three-year period preceding

the date of this Certification:

                            Joshi Living Trust v. Akorn, Inc., No. 1:18-cv-1713 (N.D. Ill.)
                      Walleye Trading LLC v. Abbvie Inc., No. 1:18-cv-5114 (N.D. Ill.)
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                                           EXHIBIT A

                              TRANSACTIONS IN MINDBODY, INC.

Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per       Cost /
        Fund            Account       Type      Trade Date   Shares        Share        Proceeds
Walleye Trading (WT)   AFMW1209   Sale           11/6/2018   (6,196.00)       $32.97    $204,254.24
Walleye Trading (WT)   AFMW1209   Sale           11/9/2018   (2,175.00)       $26.94     $58,586.89
Walleye Trading (WT)   AFMW1209   Sale          11/29/2018   (3,901.00)       $27.97    $109,109.80
Walleye Trading (WT)   AFMW1209   Sale          11/30/2018   (3,453.00)       $27.59     $95,252.73
Walleye Trading (WT)   AFMW1209   Sale           12/3/2018   (4,935.00)       $27.92    $137,765.46
Walleye Trading (WT)   AFMW1209   Sale           12/6/2018   (3,603.00)       $26.19     $94,347.80

Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per      Cost /
        Fund            Account        Type     Trade Date   Shares        Share        Proceeds
Walleye Trading (WT)   APAF1209   Sale          11/29/2018     (300.00)       $27.86      $8,358.00
Walleye Trading (WT)   APAF1209   Sale          12/17/2018      (53.00)       $24.22      $1,283.66
Walleye Trading (WT)   APAF1209   Sale          12/17/2018      (47.00)       $24.22      $1,138.34
Walleye Trading (WT)   APAF1209   Sale          12/18/2018     (100.00)       $24.10      $2,410.00

Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per      Cost /
        Fund            Account        Type     Trade Date   Shares        Share        Proceeds
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.83    $3,383.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.83    $3,383.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.83    $3,383.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.84    $3,384.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.85    $3,385.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (56.00)        $33.86    $1,896.16
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.88    $3,388.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (70.00)        $33.91    $2,373.70
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (36.00)        $33.87    $1,219.32
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.77    $3,377.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.76    $3,376.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (40.00)        $33.76    $1,350.40
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.76    $3,376.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (71.00)        $33.74    $2,395.54
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (129.00)        $33.74    $4,352.46
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (73.00)        $33.74    $2,463.02
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.81    $3,381.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (66.00)        $33.80    $2,230.80
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (34.00)        $33.80    $1,149.20

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per      Cost /
        Fund            Account        Type     Trade Date   Shares        Share        Proceeds
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (38.00)        $33.80    $1,284.40
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.80    $3,380.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.78    $3,377.50
Walleye Trading (WT)   31HL1209   Sale           11/6/2018       (2.00)        $33.77       $67.54
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.77    $3,377.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.79    $3,379.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.51    $3,351.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.67    $3,367.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (44.00)        $33.67    $1,481.48
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (56.00)        $33.67    $1,885.52
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.68    $3,368.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018       (2.00)        $33.68       $67.36
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (98.00)        $33.68    $3,300.64
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.68    $3,368.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.72    $3,371.50
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.72    $3,371.50
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (200.00)        $33.72    $6,743.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.72    $3,371.50
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (71.00)        $33.72    $2,394.12
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.72    $3,372.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (42.00)        $33.72    $1,416.24
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (11.00)        $33.73      $371.03
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (13.00)        $33.73      $438.49
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (89.00)        $33.73    $3,001.97
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.73    $3,373.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (11.00)        $33.73      $371.03
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.73    $3,373.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $33.69    $3,369.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018      (70.00)        $32.78    $2,294.60
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $32.92    $3,292.00
Walleye Trading (WT)   31HL1209   Sale           11/6/2018     (100.00)        $32.99    $3,299.00
Walleye Trading (WT)   31HL1209   Sale           11/7/2018     (100.00)        $28.50    $2,849.50
Walleye Trading (WT)   31HL1209   Sale           11/7/2018     (100.00)        $28.50    $2,850.00
Walleye Trading (WT)   31HL1209   Sale           11/7/2018     (100.00)        $28.50    $2,850.00
Walleye Trading (WT)   31HL1209   Sale           11/7/2018     (100.00)        $28.50    $2,850.00
Walleye Trading (WT)   31HL1209   Sale           11/7/2018     (100.00)        $28.50    $2,850.00
Walleye Trading (WT)   31HL1209   Sale           11/7/2018     (100.00)        $28.50    $2,850.00
Walleye Trading (WT)   31HL1209   Sale           11/7/2018     (100.00)        $28.49    $2,849.00
Walleye Trading (WT)   31HL1209   Sale           11/7/2018      (93.00)        $28.49    $2,649.57
Walleye Trading (WT)   31HL1209   Sale           11/7/2018     (100.00)        $28.49    $2,849.00
Walleye Trading (WT)   31HL1209   Sale           11/7/2018     (100.00)        $28.49    $2,849.00
Walleye Trading (WT)   31HL1209   Sale           11/7/2018     (100.00)        $28.49    $2,849.00
Walleye Trading (WT)   31HL1209   Sale           11/7/2018     (100.00)        $28.49    $2,849.00

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per      Cost /
        Fund            Account        Type     Trade Date   Shares        Share        Proceeds
Walleye Trading (WT)   31HL1209   Sale           11/7/2018       (7.00)        $28.49      $199.43
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (43.00)        $28.77    $1,237.11
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $28.77    $2,877.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (55.00)        $28.73    $1,580.15
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $28.74    $2,874.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (5.00)        $28.74      $143.70
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $28.76    $2,876.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (1.00)        $28.72       $28.72
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $28.73    $2,873.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $28.73    $2,873.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (67.00)        $28.69    $1,922.23
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (33.00)        $28.69      $946.77
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $28.70    $2,870.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (33.00)        $28.69      $946.77
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (79.00)        $28.65    $2,263.35
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (21.00)        $28.65      $601.65
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (32.00)        $28.65      $916.80
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (31.00)        $28.65      $888.15
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (45.00)        $28.43    $1,279.35
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (8.00)        $28.34      $226.72
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (73.00)        $28.35    $2,069.55
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $28.31    $2,831.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (24.00)        $28.31      $679.44
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (50.00)        $28.31    $1,415.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $28.31    $2,831.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $28.32    $2,832.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $28.30    $2,830.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $28.11    $2,811.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $28.00    $2,800.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $28.01    $2,800.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (1.00)        $28.04       $28.04
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $28.02    $2,801.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.93    $2,792.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.95    $2,795.25
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.96    $2,795.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.96    $2,796.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.96    $2,796.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.99    $2,798.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.99    $2,798.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.92    $2,792.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (76.00)        $27.92    $2,121.92
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (46.00)        $27.84    $1,280.64
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (4.00)        $27.84      $111.36

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per      Cost /
        Fund            Account      Type       Trade Date   Shares        Share        Proceeds
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (54.00)        $27.84    $1,503.36
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (22.00)        $27.84      $612.48
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (14.00)        $27.88      $390.32
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (70.00)        $27.89    $1,952.30
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.33    $2,732.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.23    $2,723.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (83.00)        $27.23    $2,260.09
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.24    $2,723.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (34.00)        $27.24      $926.16
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.25    $2,724.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.25    $2,724.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.25    $2,724.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (66.00)        $27.25    $1,798.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.45    $2,744.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.45    $2,744.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (75.00)        $27.44    $2,057.63
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.44    $2,743.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.44    $2,743.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.43    $2,742.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.43    $2,742.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.43    $2,743.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.43    $2,743.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.43    $2,743.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.42    $2,742.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (42.00)        $27.42    $1,151.64
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.78    $2,777.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.78    $2,778.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (13.00)        $27.78      $361.14
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (2.00)        $27.78       $55.56
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (98.00)        $27.78    $2,722.44
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (93.00)        $27.59    $2,565.41
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (93.00)        $27.59    $2,565.41
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (7.00)        $27.59      $193.10
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (78.00)        $27.57    $2,150.07
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (78.00)        $27.57    $2,150.07
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (22.00)        $27.57      $606.43
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (7.00)        $27.57      $192.96
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.57    $2,756.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (22.00)        $27.57      $606.43
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.09    $2,709.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (6.00)        $27.07      $162.42
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (5.00)        $27.04      $135.18
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.04    $2,703.50

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per      Cost /
        Fund            Account      Type       Trade Date   Shares        Share        Proceeds
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.04    $2,703.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.05    $2,704.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.05    $2,705.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (91.00)        $27.05    $2,461.55
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.05    $2,705.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.05    $2,705.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (9.00)        $27.05      $243.45
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (13.00)        $27.05      $351.65
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (78.00)        $27.05    $2,109.90
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.06    $2,705.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.06    $2,705.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.06    $2,705.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (95.00)        $27.06    $2,570.70
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (30.00)        $27.02      $810.60
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.02    $2,702.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (34.00)        $26.97      $916.98
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (66.00)        $26.97    $1,780.02
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $27.00    $2,699.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.95    $2,695.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (94.00)        $26.96    $2,534.24
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (54.00)        $26.96    $1,455.84
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (6.00)        $26.96      $161.76
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.97    $2,696.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.97    $2,696.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.87    $2,687.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (13.00)        $26.87      $349.31
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (52.00)        $26.88    $1,397.76
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (5.00)        $26.88      $134.40
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.89    $2,688.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (41.00)        $26.89    $1,102.49
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (68.00)        $26.93    $1,831.24
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.91    $2,691.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (59.00)        $26.92    $1,587.99
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018      (72.00)        $26.95    $1,940.40
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.93    $2,693.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.93    $2,693.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.30    $2,630.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.30    $2,629.50
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.36    $2,636.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.36    $2,636.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.38    $2,638.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.39    $2,639.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (1.00)        $26.44       $26.44

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per       Cost /
        Fund            Account        Type     Trade Date   Shares        Share        Proceeds
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018       (8.00)        $26.44       $211.52
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.60     $2,660.00
Walleye Trading (WT)   31HL1209   Short Sale     11/7/2018     (100.00)        $26.49     $2,648.50
Walleye Trading (WT)   31HL1209   Short Sale     11/9/2018   (6,248.00)        $26.82   $167,571.36
Walleye Trading (WT)   31HL1209   Sale          11/23/2018     (443.00)        $25.60    $11,340.80
Walleye Trading (WT)   31HL1209   Sale          12/21/2018   (4,800.00)        $35.00   $168,000.00
Walleye Trading (WT)   31HL1209   Sale          12/21/2018   (6,900.00)        $30.00   $207,000.00
Walleye Trading (WT)   31HL1209   Sale          12/21/2018   (1,900.00)        $25.00    $47,500.00
Walleye Trading (WT)   31HL1209   Sale          12/21/2018     (600.00)        $40.00    $24,000.00
Walleye Trading (WT)   31HL1209   Sale          12/24/2018      (26.00)        $35.83       $931.58
Walleye Trading (WT)   31HL1209   Sale          12/24/2018      (26.00)        $35.83       $931.58
Walleye Trading (WT)   31HL1209   Sale          12/24/2018      (26.00)        $35.83       $931.58
Walleye Trading (WT)   31HL1209   Sale          12/24/2018      (26.00)        $35.83       $931.58
Walleye Trading (WT)   31HL1209   Sale          12/24/2018      (26.00)        $35.83       $931.58
Walleye Trading (WT)   31HL1209   Sale          12/24/2018      (26.00)        $35.83       $931.58
Walleye Trading (WT)   31HL1209   Sale          12/24/2018      (26.00)        $35.83       $931.58
Walleye Trading (WT)   31HL1209   Sale          12/24/2018      (26.00)        $35.83       $931.58
Walleye Trading (WT)   31HL1209   Sale          12/24/2018      (26.00)        $35.83       $931.58
Walleye Trading (WT)   31HL1209   Sale          12/24/2018      (26.00)        $35.83       $931.58
Walleye Trading (WT)   31HL1209   Sale          12/24/2018      (26.00)        $35.83       $931.58
Walleye Trading (WT)   31HL1209   Sale          12/24/2018   (1,710.00)        $35.83    $61,269.30
Walleye Trading (WT)   31HL1209   Sale          12/26/2018     (108.00)        $36.00     $3,888.00
Walleye Trading (WT)   31HL1209   Sale          12/26/2018      (74.00)        $36.00     $2,664.00
Walleye Trading (WT)   31HL1209   Sale          12/26/2018   (2,626.00)        $36.00    $94,536.00
Walleye Trading (WT)   31HL1209   Sale          12/26/2018   (1,500.00)        $36.00    $54,000.00
Walleye Trading (WT)   31HL1209   Sale          12/26/2018   (1,100.00)        $36.01    $39,611.00
Walleye Trading (WT)   31HL1209   Sale          12/26/2018     (700.00)        $36.01    $25,207.00
Walleye Trading (WT)   31HL1209   Sale          12/26/2018     (100.00)        $36.01     $3,601.00
Walleye Trading (WT)   31HL1209   Sale          12/26/2018   (1,000.00)        $36.01    $36,010.00
Walleye Trading (WT)   31HL1209   Sale          12/26/2018     (300.00)        $36.01    $10,803.00
Walleye Trading (WT)   31HL1209   Sale          12/26/2018     (100.00)        $36.01     $3,601.00
Walleye Trading (WT)   31HL1209   Sale          12/26/2018   (1,900.00)        $36.01    $68,419.00
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (1.00)        $36.39        $36.39
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (1.00)        $36.40        $36.40
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (2.00)        $36.40        $72.80
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (2.00)        $36.29        $72.58
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (1.00)        $36.31        $36.31
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (2.00)        $36.32        $72.64
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (1.00)        $36.32        $36.32
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (1.00)        $36.33        $36.33
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (2.00)        $36.33        $72.66
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (27.00)        $36.45       $984.15
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (27.00)        $36.45       $984.15

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per      Cost /
        Fund            Account        Type     Trade Date   Shares        Share        Proceeds
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (27.00)        $36.45      $984.15
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (27.00)        $36.45      $984.15
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (27.00)        $36.45      $984.15
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (27.00)        $36.45      $984.15
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (27.00)        $36.45      $984.15
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (22.00)        $36.45      $801.90
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (27.00)        $36.45      $984.15
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (27.00)        $36.45      $984.15
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (27.00)        $36.45      $984.15
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (27.00)        $36.45      $984.15
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (27.00)        $36.45      $984.15
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (27.00)        $36.45      $984.15
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (7.00)        $36.46      $255.22
Walleye Trading (WT)   31HL1209   Sale          12/28/2018     (200.00)        $36.46    $7,292.00
Walleye Trading (WT)   31HL1209   Sale          12/28/2018     (214.00)        $36.46    $7,802.44
Walleye Trading (WT)   31HL1209   Sale          12/28/2018     (400.00)        $36.46   $14,584.00
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (93.00)        $36.46    $3,390.78
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (86.00)        $36.46    $3,135.56
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (7.00)        $36.46      $255.22
Walleye Trading (WT)   31HL1209   Sale          12/28/2018     (500.00)        $36.46   $18,230.00
Walleye Trading (WT)   31HL1209   Sale          12/28/2018      (27.00)        $36.45      $984.15
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (1.00)        $36.44       $36.44
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (2.00)        $36.44       $72.88
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (1.00)        $36.41       $36.41
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (1.00)        $36.41       $36.41
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (7.00)        $36.43      $255.01
Walleye Trading (WT)   31HL1209   Sale          12/28/2018       (3.00)        $36.44      $109.32
Walleye Trading (WT)   31HL1209   Sale          12/31/2018       (2.00)        $36.40       $72.80
Walleye Trading (WT)   31HL1209   Sale          12/31/2018       (3.00)        $36.40      $109.20
Walleye Trading (WT)   31HL1209   Sale          12/31/2018       (5.00)        $36.41      $182.05
Walleye Trading (WT)   31HL1209   Sale          12/31/2018       (3.00)        $36.39      $109.17
Walleye Trading (WT)   31HL1209   Sale          12/31/2018       (3.00)        $36.39      $109.17
Walleye Trading (WT)   31HL1209   Sale          12/31/2018       (2.00)        $36.36       $72.72
Walleye Trading (WT)   31HL1209   Sale          12/31/2018       (2.00)        $36.36       $72.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (253.00)        $36.84    $9,320.52
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (1.00)        $36.36       $36.36
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (3.00)        $36.36      $109.08
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (1.00)        $36.37       $36.37
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (7.00)        $36.38      $254.66
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (1.00)        $36.42       $36.42
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (1.00)        $36.42       $36.42
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (3.00)        $36.43      $109.29
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (4.00)        $36.43      $145.72

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per      Cost /
        Fund            Account        Type     Trade Date   Shares        Share        Proceeds
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (3.00)        $36.44      $109.32
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (2.00)        $36.47       $72.94
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (4.00)        $36.47      $145.88
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (2.00)        $36.48       $72.96
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (2.00)        $36.48       $72.96
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (1.00)        $36.48       $36.48
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (10.00)         $36.63      $366.30
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (1.00)        $36.70       $36.70
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (3.00)        $36.70      $110.10
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (11.00)         $36.71      $403.81
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (3.00)        $36.73      $110.19
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (8.00)        $36.73      $293.84
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (3.00)        $36.74      $110.22
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (3.00)        $36.75      $110.25
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (1.00)        $36.76       $36.76
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (2.00)        $36.76       $73.52
Walleye Trading (WT)   31HL1209   Sale            1/2/2019       (9.00)        $36.81      $331.29
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/2/2019     (33.00)         $36.84    $1,215.72
Walleye Trading (WT)   31HL1209   Sale            1/3/2019     (18.00)         $36.50      $657.00
Walleye Trading (WT)   31HL1209   Sale            1/4/2019       (1.00)        $36.48       $36.48
Walleye Trading (WT)   31HL1209   Sale            1/4/2019       (1.00)        $36.48       $36.48
Walleye Trading (WT)   31HL1209   Sale            1/4/2019       (1.00)        $36.48       $36.48
Walleye Trading (WT)   31HL1209   Sale            1/4/2019       (1.00)        $36.48       $36.48
Walleye Trading (WT)   31HL1209   Sale            1/4/2019       (6.00)        $36.50      $219.00
Walleye Trading (WT)   31HL1209   Sale            1/4/2019     (17.00)         $36.52      $620.84
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (2.00)        $36.46       $72.92
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (7.00)        $36.46      $255.22
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (2.00)        $36.47       $72.94
Walleye Trading (WT)   31HL1209   Sale            1/7/2019     (10.00)         $36.47      $364.70

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per      Cost /
        Fund            Account        Type     Trade Date   Shares        Share        Proceeds
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (2.00)        $36.47       $72.94
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (4.00)        $36.47      $145.88
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (3.00)        $36.47      $109.41
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (5.00)        $36.47      $182.35
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (6.00)        $36.48      $218.88
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (3.00)        $36.48      $109.44
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (2.00)        $36.48       $72.96
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (2.00)        $36.48       $72.96
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (2.00)        $36.48       $72.96
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (1.00)        $36.48       $36.48
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (2.00)        $36.48       $72.96
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (4.00)        $36.48      $145.92
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (3.00)        $36.48      $109.44
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (1.00)        $36.48       $36.48
Walleye Trading (WT)   31HL1209   Sale            1/7/2019     (11.00)         $36.48      $401.28
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (7.00)        $36.48      $255.36
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (2.00)        $36.48       $72.96
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (2.00)        $36.48       $72.96
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (4.00)        $36.49      $145.96
Walleye Trading (WT)   31HL1209   Sale            1/7/2019       (1.00)        $36.72       $36.72
Walleye Trading (WT)   31HL1209   Sale           1/10/2019       (3.00)        $36.81      $110.43
Walleye Trading (WT)   31HL1209   Sale           1/10/2019     (28.00)         $36.81    $1,030.68
Walleye Trading (WT)   31HL1209   Sale           1/11/2019     (25.00)         $36.85      $921.25
Walleye Trading (WT)   31HL1209   Sale           1/11/2019       (1.00)        $36.90       $36.90
Walleye Trading (WT)   31HL1209   Sale           1/11/2019       (2.00)        $36.94       $73.88
Walleye Trading (WT)   31HL1209   Sale           1/11/2019       (2.00)        $36.94       $73.88
Walleye Trading (WT)   31HL1209   Sale           1/14/2019     (12.00)         $36.96      $443.52
Walleye Trading (WT)   31HL1209   Sale           1/15/2019     (27.00)         $36.86      $995.22
Walleye Trading (WT)   31HL1209   Sale           1/15/2019     (13.00)         $36.86      $479.18
Walleye Trading (WT)   31HL1209   Sale           1/15/2019     (27.00)         $36.86      $995.22
Walleye Trading (WT)   31HL1209   Sale           1/15/2019     (27.00)         $36.86      $995.22
Walleye Trading (WT)   31HL1209   Sale           1/15/2019     (13.00)         $36.86      $479.18
Walleye Trading (WT)   31HL1209   Sale           1/15/2019     (27.00)         $36.86      $995.22
Walleye Trading (WT)   31HL1209   Sale           1/15/2019     (13.00)         $36.86      $479.18
Walleye Trading (WT)   31HL1209   Sale           1/15/2019     (24.00)         $36.98      $887.52
Walleye Trading (WT)   31HL1209   Sale           1/15/2019     (11.00)         $37.00      $407.00
Walleye Trading (WT)   31HL1209   Sale           1/15/2019       (1.00)        $37.00       $37.00
Walleye Trading (WT)   31HL1209   Sale           1/15/2019       (2.00)        $37.00       $74.00
Walleye Trading (WT)   31HL1209   Sale           1/15/2019       (3.00)        $37.00      $111.00
Walleye Trading (WT)   31HL1209   Sale           1/15/2019     (12.00)         $37.07      $444.84
Walleye Trading (WT)   31HL1209   Sale           1/17/2019       (4.00)        $36.62      $146.48
Walleye Trading (WT)   31HL1209   Sale           1/17/2019       (4.00)        $36.63      $146.52
Walleye Trading (WT)   31HL1209   Sale           1/17/2019       (4.00)        $36.66      $146.64

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per      Cost /
        Fund            Account        Type     Trade Date   Shares        Share        Proceeds
Walleye Trading (WT)   31HL1209   Sale           1/17/2019       (5.00)        $36.67      $183.35
Walleye Trading (WT)   31HL1209   Sale           1/17/2019       (6.00)        $36.68      $220.08
Walleye Trading (WT)   31HL1209   Sale           1/17/2019       (2.00)        $36.68       $73.36
Walleye Trading (WT)   31HL1209   Sale           1/17/2019       (4.00)        $36.69      $146.76
Walleye Trading (WT)   31HL1209   Sale           1/17/2019       (8.00)        $36.69      $293.52
Walleye Trading (WT)   31HL1209   Sale           1/17/2019       (6.00)        $36.70      $220.20
Walleye Trading (WT)   31HL1209   Sale           1/17/2019       (4.00)        $36.71      $146.84
Walleye Trading (WT)   31HL1209   Sale           1/18/2019       (7.00)        $36.70      $256.90
Walleye Trading (WT)   31HL1209   Sale           1/24/2019     (13.00)         $36.40      $473.20
Walleye Trading (WT)   31HL1209   Sale           1/24/2019     (13.00)         $36.40      $473.20
Walleye Trading (WT)   31HL1209   Sale           1/24/2019     (27.00)         $36.40      $982.80
Walleye Trading (WT)   31HL1209   Sale           1/24/2019     (26.00)         $36.40      $946.40
Walleye Trading (WT)   31HL1209   Sale           1/24/2019     (27.00)         $36.40      $982.80
Walleye Trading (WT)   31HL1209   Sale           1/24/2019     (27.00)         $36.40      $982.80
Walleye Trading (WT)   31HL1209   Sale           1/24/2019     (27.00)         $36.40      $982.80
Walleye Trading (WT)   31HL1209   Sale           1/24/2019     (27.00)         $36.40      $982.80
Walleye Trading (WT)   31HL1209   Sale           1/24/2019     (13.00)         $36.40      $473.20
Walleye Trading (WT)   31HL1209   Sale           1/25/2019     (20.00)         $36.40      $728.00
Walleye Trading (WT)   31HL1209   Sale           1/25/2019     (20.00)         $36.40      $728.00
Walleye Trading (WT)   31HL1209   Sale           1/25/2019     (20.00)         $36.40      $728.00
Walleye Trading (WT)   31HL1209   Sale           1/25/2019     (20.00)         $36.40      $728.00
Walleye Trading (WT)   31HL1209   Sale           1/25/2019     (20.00)         $36.40      $728.00
Walleye Trading (WT)   31HL1209   Sale            2/6/2019       (2.00)        $36.50       $73.00
Walleye Trading (WT)   31HL1209   Sale            2/6/2019       (1.00)        $36.50       $36.50
Walleye Trading (WT)   31HL1209   Sale            2/7/2019       (1.00)        $36.50       $36.50
Walleye Trading (WT)   31HL1209   Sale            2/7/2019       (6.00)        $36.50      $219.00
Walleye Trading (WT)   31HL1209   Short Sale      2/7/2019       (1.00)        $36.51       $36.51
Walleye Trading (WT)   31HL1209   Short Sale      2/7/2019       (1.00)        $36.51       $36.51
Walleye Trading (WT)   31HL1209   Short Sale      2/7/2019       (4.00)        $36.55      $146.20
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (1.00)        $36.46       $36.46
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (2.00)        $36.46       $72.92
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (2.00)        $36.46       $72.92
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (4.00)        $36.46      $145.84
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (2.00)        $36.46       $72.92
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (5.00)        $36.46      $182.30
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (1.00)        $36.47       $36.47
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (1.00)        $36.47       $36.47
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (1.00)        $36.47       $36.47
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (2.00)        $36.47       $72.94
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (1.00)        $36.48       $36.48
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (3.00)        $36.49      $109.47
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (1.00)        $36.50       $36.50
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (1.00)        $36.50       $36.50

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per      Cost /
        Fund            Account      Type       Trade Date   Shares        Share        Proceeds
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (1.00)        $36.50       $36.50
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (3.00)        $36.51      $109.53
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (2.00)        $36.51       $73.02
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (2.00)        $36.51       $73.02
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (1.00)        $36.51       $36.51
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (1.00)        $36.51       $36.51
Walleye Trading (WT)   31HL1209   Short Sale      2/8/2019       (1.00)        $36.52       $36.52
Walleye Trading (WT)   31HL1209   Short Sale     2/11/2019       (4.00)        $36.46      $145.84
Walleye Trading (WT)   31HL1209   Short Sale     2/11/2019       (3.00)        $36.48      $109.44
Walleye Trading (WT)   31HL1209   Short Sale     2/11/2019       (6.00)        $36.49      $218.94
Walleye Trading (WT)   31HL1209   Short Sale     2/12/2019       (1.00)        $36.47       $36.47
Walleye Trading (WT)   31HL1209   Short Sale     2/12/2019       (2.00)        $36.47       $72.94
Walleye Trading (WT)   31HL1209   Short Sale     2/12/2019       (1.00)        $36.47       $36.47
Walleye Trading (WT)   31HL1209   Short Sale     2/12/2019       (3.00)        $36.48      $109.44
Walleye Trading (WT)   31HL1209   Short Sale     2/12/2019      (13.00)        $36.48      $474.24
Walleye Trading (WT)   31HL1209   Short Sale     2/12/2019      (13.00)        $36.48      $474.24
Walleye Trading (WT)   31HL1209   Short Sale     2/12/2019      (13.00)        $36.48      $474.24
Walleye Trading (WT)   31HL1209   Short Sale     2/12/2019      (27.00)        $36.48      $984.96
Walleye Trading (WT)   31HL1209   Short Sale     2/12/2019      (27.00)        $36.48      $984.96
Walleye Trading (WT)   31HL1209   Short Sale     2/12/2019      (13.00)        $36.48      $474.24
Walleye Trading (WT)   31HL1209   Short Sale     2/12/2019      (27.00)        $36.48      $984.96
Walleye Trading (WT)   31HL1209   Short Sale     2/12/2019      (13.00)        $36.48      $474.24
Walleye Trading (WT)   31HL1209   Short Sale     2/12/2019      (13.00)        $36.48      $474.24
Walleye Trading (WT)   31HL1209   Short Sale     2/12/2019      (28.00)        $36.48    $1,021.44
Walleye Trading (WT)   31HL1209   Short Sale     2/13/2019       (4.00)        $36.46      $145.84
Walleye Trading (WT)   31HL1209   Short Sale     2/13/2019       (1.00)        $36.47       $36.47
Walleye Trading (WT)   31HL1209   Short Sale     2/13/2019       (7.00)        $36.48      $255.36
Walleye Trading (WT)   31HL1209   Short Sale     2/13/2019       (1.00)        $36.48       $36.48
Walleye Trading (WT)   31HL1209   Short Sale     2/13/2019       (2.00)        $36.48       $72.96
Walleye Trading (WT)   31HL1209   Short Sale     2/13/2019       (2.00)        $36.48       $72.96
Walleye Trading (WT)   31HL1209   Short Sale     2/14/2019       (4.00)        $36.48      $145.92
Walleye Trading (WT)   31HL1209   Short Sale     2/14/2019       (4.00)        $36.48      $145.92
Walleye Trading (WT)   31HL1209   Short Sale     2/14/2019     (111.00)        $36.48    $4,049.28
Walleye Trading (WT)   31HL1209   Short Sale     2/14/2019       (1.00)        $36.49       $36.49

Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per      Cost /
        Fund            Account        Type     Trade Date   Shares        Share        Proceeds
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (148.00)       $36.46     $5,396.08
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (101.00)       $36.46     $3,682.46
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (13.00)       $36.46       $473.98
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (102.00)       $36.46     $3,718.92

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account        Type     Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (132.00)       $36.46    $4,812.72
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (111.00)       $36.46    $4,047.06
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (105.00)       $36.46    $3,828.30
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (485.00)       $36.46   $17,683.10
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (200.00)       $36.46    $7,292.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (24.00)       $36.46      $875.04
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (102.00)       $36.46    $3,718.92
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (68.00)       $36.46    $2,479.28
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (54.00)       $36.46    $1,968.84
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (73.00)       $36.46    $2,661.58
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (38.00)       $36.46    $1,385.48
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (103.00)       $36.46    $3,755.38
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (5.00)       $36.46      $182.30
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (95.00)       $36.46    $3,463.70
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (219.00)       $36.46    $7,984.74
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (95.00)       $36.46    $3,463.70
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (56.00)       $36.46    $2,041.76
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (244.00)       $36.46    $8,896.24
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (54.00)       $36.46    $1,968.84
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (50.00)       $36.46    $1,823.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (85.00)       $36.46    $3,099.10
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (101.00)       $36.46    $3,682.46
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (99.00)       $36.46    $3,609.54
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (101.00)       $36.46    $3,682.46
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (136.00)       $36.46    $4,958.56
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (33.00)       $36.46    $1,203.18
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (6.00)       $36.46      $218.76
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (97.00)       $36.46    $3,536.62
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (115.00)       $36.46    $4,192.90
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (266.00)       $36.46    $9,698.36
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account        Type     Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (115.00)       $36.46    $4,192.90
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (39.00)       $36.46    $1,421.94
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (61.00)       $36.46    $2,224.06
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (39.00)       $36.46    $1,421.94
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (192.00)       $36.46    $7,000.32
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (129.00)       $36.46    $4,703.34
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (194.00)       $36.46    $7,073.24
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (47.00)       $36.46    $1,713.62
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (94.00)       $36.46    $3,427.24
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (106.00)       $36.46    $3,864.76
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (110.00)       $36.46    $4,010.61
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (567.00)       $36.46   $20,672.88
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (406.00)       $36.46   $14,802.80
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (442.00)       $36.46   $16,115.36
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (308.00)       $36.46   $11,229.71
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (281.00)       $36.46   $10,245.29
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (62.00)       $36.46    $2,260.53
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.46    $3,646.01
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,646.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,646.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (200.00)       $36.47    $7,293.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (129.00)       $36.47    $4,703.99
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (82.00)       $36.47    $2,990.54
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (108.00)       $36.47    $3,938.76
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (464.00)       $36.47   $16,922.08

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account        Type     Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (278.00)       $36.47   $10,138.66
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (97.00)       $36.47    $3,537.59
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (56.00)       $36.47    $2,042.32
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (200.00)       $36.47    $7,294.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (3.00)       $36.47      $109.41
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (200.00)       $36.47    $7,294.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (122.00)       $36.47    $4,449.34
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (61.00)       $36.47    $2,224.67
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (27.00)       $36.47      $984.69
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (15.00)       $36.47      $547.05
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (350.00)       $36.47   $12,764.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (173.00)       $36.47    $6,309.31
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (41.00)       $36.47    $1,495.27
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (350.00)       $36.47   $12,764.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (64.00)       $36.47    $2,334.08
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (130.00)       $36.47    $4,741.10
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (52.00)       $36.47    $1,896.44
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (60.00)       $36.47    $2,188.20
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (200.00)       $36.47    $7,294.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (158.00)       $36.47    $5,762.26
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (42.00)       $36.47    $1,531.74
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (58.00)       $36.47    $2,115.26
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (42.00)       $36.47    $1,531.74
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (18.00)       $36.47      $656.46
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (82.00)       $36.47    $2,990.54
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (36.00)       $36.47    $1,312.92
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (51.00)       $36.47    $1,859.97
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (7.00)       $36.47      $255.29
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (98.00)       $36.47    $3,574.06
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (57.00)       $36.47    $2,078.79
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (247.00)       $36.47    $9,008.09

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account        Type     Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (268.00)       $36.47    $9,773.96
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (93.00)       $36.47    $3,391.71
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (148.00)       $36.47    $5,397.56
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (46.00)       $36.47    $1,677.62
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (71.00)       $36.47    $2,589.37
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (12.00)       $36.47      $437.64
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (51.00)       $36.47    $1,859.97
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (47.00)       $36.47    $1,714.09
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (88.00)       $36.47    $3,209.36
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (62.00)       $36.47    $2,261.14
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (91.00)       $36.47    $3,318.77
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (9.00)       $36.47      $328.23
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (150.00)       $36.47    $5,470.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (50.00)       $36.47    $1,823.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (43.00)       $36.47    $1,568.21
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (157.00)       $36.47    $5,725.79
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (51.00)       $36.47    $1,859.97
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (9.00)       $36.47      $328.23
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (21.00)       $36.47      $765.87
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (43.00)       $36.47    $1,568.21
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (44.00)       $36.47    $1,604.68
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (33.00)       $36.47    $1,203.51
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (40.00)       $36.47    $1,458.80
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (60.00)       $36.47    $2,188.20
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (30.00)       $36.47    $1,094.10
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (170.00)       $36.47    $6,199.90

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account        Type     Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (50.00)       $36.47    $1,823.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (15.00)       $36.47      $547.05
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (74.00)       $36.47    $2,698.78
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (85.00)       $36.47    $3,099.95
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (16.00)       $36.47      $583.52
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (133.00)       $36.47    $4,850.51
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (739.00)       $36.47   $26,951.33
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (7.00)       $36.47      $255.29
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (52.00)       $36.47    $1,896.44
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (7.00)       $36.47      $255.29
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (87.00)       $36.47    $3,172.89
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (200.00)       $36.47    $7,294.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (44.00)       $36.47    $1,604.68
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (45.00)       $36.47    $1,641.15
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (98.00)       $36.47    $3,574.06
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (1.00)       $36.47       $36.47
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (37.00)       $36.47    $1,349.39
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (2.00)       $36.47       $72.94
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (200.00)       $36.47    $7,294.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (6.00)       $36.47      $218.82
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (43.00)       $36.47    $1,568.21
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (89.00)       $36.47    $3,245.83
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (99.00)       $36.47    $3,610.53
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (136.00)       $36.47    $4,959.92
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (41.00)       $36.47    $1,495.27
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (73.00)       $36.47    $2,662.31
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (106.00)       $36.47    $3,865.83
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (589.00)       $36.47   $21,480.89

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account        Type     Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (799.00)       $36.47   $29,139.61
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (114.00)       $36.47    $4,157.59
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (149.00)       $36.47    $5,434.04
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (214.00)       $36.47    $7,804.60
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (161.00)       $36.47    $5,871.69
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (810.00)       $36.47   $29,540.78
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (235.00)       $36.47    $8,570.47
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (557.00)       $36.47   $20,313.85
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (29.00)       $36.47    $1,057.63
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (256.00)       $36.47    $9,336.35
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (361.00)       $36.47   $13,165.71
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (245.00)       $36.47    $8,935.17
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (44.00)       $36.47    $1,604.68
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (24.00)       $36.47      $875.28
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (83.00)       $36.47    $3,027.02
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.47    $3,647.01
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (368.00)       $36.47   $13,421.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (119.00)       $36.47    $4,339.94
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (189.00)       $36.47    $6,892.85
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (645.00)       $36.47   $23,523.21
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (200.00)       $36.47    $7,294.02
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (60.00)       $36.48    $2,188.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.48    $3,647.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.48    $3,647.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (137.00)       $36.48    $4,997.08
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (63.00)       $36.48    $2,297.93
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (163.00)       $36.48    $5,946.24
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (168.00)       $36.48    $6,128.64
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (196.00)       $36.48    $7,150.08
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (242.00)       $36.48    $8,828.16
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (251.00)       $36.48    $9,156.48
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (912.00)       $36.48   $33,269.76
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (206.00)       $36.48    $7,514.88
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.48    $3,648.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.48    $3,648.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.48    $3,648.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (70.00)       $36.48    $2,553.60
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (27.00)       $36.48      $984.96
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (59.00)       $36.48    $2,152.32
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.48    $3,648.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.48    $3,648.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.48    $3,648.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (73.00)       $36.48    $2,663.04

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account        Type     Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.48    $3,648.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (140.00)       $36.48    $5,107.20
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (542.00)       $36.48   $19,772.16
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (59.00)       $36.48    $2,152.32
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (173.00)       $36.48    $6,311.04
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.48    $3,648.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (96.00)       $36.48    $3,502.08
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (4.00)       $36.48      $145.92
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (780.00)       $36.48   $28,454.48
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (70.00)       $36.48    $2,553.61
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (138.00)       $36.48    $5,034.25
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (119.00)       $36.48    $4,341.13
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (951.00)       $36.48   $34,692.58
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (171.00)       $36.48    $6,238.10
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (92.00)       $36.48    $3,356.17
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (568.00)       $36.48   $20,720.70
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,648.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,648.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (32.00)       $36.49    $1,167.68
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (168.00)       $36.49    $6,130.32
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (21.00)       $36.49      $766.29
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (787.00)       $36.49   $28,717.63
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (217.00)       $36.49    $7,918.33
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (126.00)       $36.49    $4,597.74
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (600.00)       $36.49   $21,894.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (164.00)       $36.49    $5,984.36
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (93.00)       $36.49    $3,393.57
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (93.00)       $36.49    $3,393.57
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (7.00)       $36.49      $255.43
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (17.00)       $36.49      $620.33
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (37.00)       $36.49    $1,350.13
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (38.00)       $36.49    $1,386.62
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account        Type     Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (1.00)       $36.49       $36.49
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (72.00)       $36.49    $2,627.28
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (199.00)       $36.49    $7,261.51
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (27.00)       $36.49      $985.23
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (43.00)       $36.49    $1,569.07
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (300.00)       $36.49   $10,947.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (169.00)       $36.49    $6,166.81
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (70.00)       $36.49    $2,554.30
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (31.00)       $36.49    $1,131.19
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (30.00)       $36.49    $1,094.70
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (77.00)       $36.49    $2,809.73
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (23.00)       $36.49      $839.27
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (11.00)       $36.49      $401.39
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (132.00)       $36.49    $4,816.68
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (257.00)       $36.49    $9,377.93
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (57.00)       $36.49    $2,079.93
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (93.00)       $36.49    $3,393.57
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (7.00)       $36.49      $255.43
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (28.00)       $36.49    $1,021.72
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (46.00)       $36.49    $1,678.54
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (90.00)       $36.49    $3,284.10
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (97.00)       $36.49    $3,539.53

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account        Type     Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (78.00)       $36.49    $2,846.22
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (22.00)       $36.49      $802.78
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (74.00)       $36.49    $2,700.26
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (53.00)       $36.49    $1,933.97
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (28.00)       $36.49    $1,021.72
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (32.00)       $36.49    $1,167.68
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (88.00)       $36.49    $3,211.12
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (111.00)       $36.49    $4,050.39
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (89.00)       $36.49    $3,247.61
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (18.00)       $36.49      $656.82
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (108.00)       $36.49    $3,940.92
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (84.00)       $36.49    $3,065.16
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (16.00)       $36.49      $583.84
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (83.00)       $36.49    $3,028.67
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (8.00)       $36.49      $291.92
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (30.00)       $36.49    $1,094.70
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (44.00)       $36.49    $1,605.56
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (200.00)       $36.49    $7,298.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (154.00)       $36.49    $5,619.46
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (152.00)       $36.49    $5,546.48
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (18.00)       $36.49      $656.82
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (30.00)       $36.49    $1,094.70
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (70.00)       $36.49    $2,554.30
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (16.00)       $36.49      $583.84
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (184.00)       $36.49    $6,714.16
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (30.00)       $36.49    $1,094.70
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (86.00)       $36.49    $3,138.14
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (14.00)       $36.49      $510.86
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (86.00)       $36.49    $3,138.14
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (172.00)       $36.49    $6,276.28
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (75.00)       $36.49    $2,736.75
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (25.00)       $36.49      $912.25

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account        Type     Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (65.00)       $36.49    $2,371.85
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (40.00)       $36.49    $1,459.60
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (91.00)       $36.49    $3,320.59
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (18.00)       $36.49      $656.82
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (9.00)       $36.49      $328.41
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (21.00)       $36.49      $766.29
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.49    $3,649.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (30.00)       $36.49    $1,094.70
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (200.00)       $36.49    $7,298.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (117.00)       $36.49    $4,269.33
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (92.00)       $36.49    $3,357.08
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (67.00)       $36.49    $2,444.83
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (79.00)       $36.49    $2,882.71
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (157.00)       $36.49    $5,728.95
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (146.00)       $36.49    $5,327.55
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (772.00)       $36.49   $28,170.36
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (369.00)       $36.49   $13,464.85
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (2.00)       $36.49       $72.98
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (732.00)       $36.49   $26,710.75
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (2.00)       $36.49       $72.98
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (392.00)       $36.49   $14,304.12
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (162.00)       $36.49    $5,911.40
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (145.00)       $36.49    $5,291.06
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (172.00)       $36.49    $6,276.30
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (286.00)       $36.49   $10,436.17
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (103.00)       $36.49    $3,758.48
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (118.00)       $36.49    $4,305.83
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (72.00)       $36.49    $2,627.29
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (7.00)       $36.50      $255.47
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.50    $3,649.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.50    $3,649.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (57.00)       $36.50    $2,080.22
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (43.00)       $36.50    $1,569.29
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.50    $3,649.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.50    $3,649.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (71.00)       $36.50    $2,591.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (10.00)       $36.50      $365.00

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account        Type     Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (90.00)       $36.50    $3,285.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (29.00)       $36.50    $1,058.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (97.00)       $36.50    $3,540.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (72.00)       $36.50    $2,628.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (313.00)       $36.50   $11,424.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (20.00)       $36.50      $730.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (80.00)       $36.50    $2,920.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (33.00)       $36.50    $1,204.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (167.00)       $36.50    $6,095.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (105.00)       $36.50    $3,832.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (186.00)       $36.50    $6,789.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (148.00)       $36.50    $5,402.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (48.00)       $36.50    $1,752.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (52.00)       $36.50    $1,898.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (213.00)       $36.50    $7,774.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (417.00)       $36.50   $15,220.50
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (77.00)       $36.50    $2,810.51
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (249.00)       $36.50    $9,088.52
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (279.00)       $36.50   $10,183.53
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (10.00)       $36.51      $365.10
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (90.00)       $36.51    $3,285.90
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.51    $3,651.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.51    $3,651.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.51    $3,651.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (11.00)       $36.51      $401.61
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.51    $3,651.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (466.00)       $36.51   $17,013.66
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (96.00)       $36.51    $3,504.96
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.51    $3,651.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (690.00)       $36.51   $25,191.97
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (421.00)       $36.51   $15,370.75
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019       (7.00)       $36.52      $255.64
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.52    $3,652.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019      (93.00)       $36.52    $3,396.36

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account        Type     Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (100.00)       $36.52    $3,652.00
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (445.00)       $36.52   $16,251.40
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (673.00)       $36.52   $24,578.03
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (132.00)       $36.52    $4,820.65
Walleye Trading (WT)   AMNC1209   Sale           1/30/2019     (250.00)       $36.52    $9,130.03
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019      (48.00)       $36.50    $1,752.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019      (33.00)       $36.50    $1,204.50
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (200.00)       $36.50    $7,300.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (200.00)       $36.50    $7,300.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (700.00)       $36.50   $25,550.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (200.00)       $36.50    $7,300.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019   (1,100.00)       $36.50   $40,150.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (300.00)       $36.50   $10,950.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (200.00)       $36.50    $7,300.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (317.00)       $36.50   $11,570.50
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (700.00)       $36.50   $25,550.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (200.00)       $36.50    $7,300.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (200.00)       $36.50    $7,300.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (200.00)       $36.50    $7,300.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (200.00)       $36.50    $7,300.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (200.00)       $36.50    $7,300.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (424.00)       $36.50   $15,476.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (200.00)       $36.50    $7,300.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019      (76.00)       $36.50    $2,774.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (300.00)       $36.50   $10,950.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (367.00)       $36.50   $13,395.50
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (300.00)       $36.50   $10,950.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (200.00)       $36.50    $7,300.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account        Type     Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (248.00)       $36.50    $9,052.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (152.00)       $36.50    $5,548.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (100.00)       $36.50    $3,650.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019      (66.00)       $36.50    $2,409.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (300.00)       $36.50   $10,950.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (300.00)       $36.50   $10,950.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019      (57.00)       $36.50    $2,080.50
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (300.00)       $36.50   $10,950.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (286.00)       $36.50   $10,439.00
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019   (1,643.00)       $36.50   $59,969.50
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019     (483.00)       $36.50   $17,629.98
Walleye Trading (WT)   AMNC1209   Short Sale     1/30/2019   (2,200.00)       $36.50   $80,302.20
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (52.00)       $36.47    $1,896.44
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (18.00)       $36.47      $656.46
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (25.00)       $36.47      $911.75
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (28.00)       $36.47    $1,021.16
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (29.00)       $36.47    $1,057.63
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (14.00)       $36.47      $510.58
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (30.00)       $36.47    $1,094.10
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (31.00)       $36.47    $1,130.57
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (12.00)       $36.47      $437.64
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (29.00)       $36.47    $1,057.63
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (39.00)       $36.47    $1,422.33
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (13.00)       $36.47      $474.11
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (31.00)       $36.47    $1,130.57
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (54.00)       $36.47    $1,969.38
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (49.00)       $36.47    $1,787.03
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (35.00)       $36.47    $1,276.45
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (16.00)       $36.47      $583.52
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (37.00)       $36.47    $1,349.39
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (14.00)       $36.47      $510.58
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (43.00)       $36.47    $1,568.21
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (32.00)       $36.48    $1,167.36
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019       (5.00)       $36.48      $182.40
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (45.00)       $36.48    $1,641.60
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (18.00)       $36.48      $656.64
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (38.00)       $36.48    $1,386.24
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (12.00)       $36.48      $437.76

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account        Type     Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (32.00)       $36.48    $1,167.36
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (26.00)       $36.48      $948.48
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (14.00)       $36.48      $510.72
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (68.00)       $36.48    $2,480.64
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (46.00)       $36.48    $1,678.08
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (36.00)       $36.48    $1,313.28
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (34.00)       $36.48    $1,240.32
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (30.00)       $36.48    $1,094.40
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (37.00)       $36.48    $1,349.76
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (30.00)       $36.48    $1,094.40
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (45.00)       $36.48    $1,641.60
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (35.00)       $36.48    $1,276.80
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (35.00)       $36.48    $1,276.80
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (40.00)       $36.48    $1,459.20
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (31.00)       $36.48    $1,130.88
Walleye Trading (WT)   AMNC1209   Sale           1/31/2019      (33.00)       $36.48    $1,203.84
Walleye Trading (WT)   AMNC1209   Short Sale     1/31/2019      (39.00)       $36.49    $1,423.11
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019      (84.00)       $36.50    $3,066.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (353.00)       $36.51   $12,888.03
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (800.00)       $36.51   $29,208.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (721.00)       $36.51   $26,323.71
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019      (56.00)       $36.51    $2,044.56
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (200.00)       $36.51    $7,302.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (200.00)       $36.51    $7,302.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (200.00)       $36.51    $7,302.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (144.00)       $36.51    $5,257.44
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (200.00)       $36.51    $7,302.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (400.00)       $36.51   $14,604.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (200.00)       $36.51    $7,302.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019   (1,000.00)       $36.51   $36,510.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019   (1,000.00)       $36.51   $36,510.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (200.00)       $36.51    $7,302.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (400.00)       $36.51   $14,604.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (200.00)       $36.51    $7,302.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (100.00)       $36.51    $3,651.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (200.00)       $36.51    $7,302.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (200.00)       $36.51    $7,302.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (100.00)       $36.51    $3,651.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (762.00)       $36.51   $27,820.62
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019      (38.00)       $36.51    $1,387.38
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019      (48.00)       $36.51    $1,752.48
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019      (24.00)       $36.51      $876.24
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (138.00)       $36.51    $5,038.38

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Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per      Cost /
        Fund            Account      Type       Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (576.00)       $36.51    $21,029.76
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019      (14.00)       $36.51       $511.14
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (100.00)       $36.51     $3,651.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019   (5,000.00)       $36.51   $182,550.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (100.00)       $36.51     $3,651.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019       (3.00)       $36.51       $109.53
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (400.00)       $36.51    $14,604.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019       (8.00)       $36.51       $292.08
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (776.00)       $36.51    $28,331.76
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019      (22.00)       $36.51       $803.22
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019       (2.00)       $36.51        $73.02
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019       (2.00)       $36.51        $73.02
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (100.00)       $36.51     $3,651.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (187.00)       $36.51     $6,827.37
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (200.00)       $36.51     $7,302.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (200.00)       $36.51     $7,302.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019      (10.00)       $36.51       $365.10
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (100.00)       $36.51     $3,651.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (290.00)       $36.51    $10,587.90
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (100.00)       $36.51     $3,651.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019      (11.00)       $36.51       $401.61
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (100.00)       $36.51     $3,651.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (471.00)       $36.51    $17,196.21
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019      (24.00)       $36.51       $876.24
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (200.00)       $36.51     $7,302.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019      (12.00)       $36.51       $438.12
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (321.00)       $36.51    $11,719.71
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019     (800.00)       $36.51    $29,208.00
Walleye Trading (WT)   AMNC1209   Short Sale      2/7/2019      (79.00)       $36.51     $2,884.29

Walleye Trading LLC
Transactions:
                                  Transaction                             Price Per     Cost /
        Fund            Account      Type       Trade Date   Shares        Share       Proceeds
Walleye Trading (WT)   AR111209   Short Sale     11/6/2018   (6,110.00)       $32.67   $199,626.53




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